Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 1 of 44 PageID# 1463



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division




   John Doe,

                         Plaintiff,
                                                            Civil Action No. l:19-cv-1249
                                                            Hon. Liam O'Grady
   George Mason University,et al..

                         Defendants.


                          MEMORANDUM OPINION & ORDER


       This matter is before the Court on a motion in limine to proceed by pseudonym and two

motions to dismiss. Dkt. 2, Dkt. 26, Dkt. 29. The motions were fully briefed, and the Court

dispensed with oral argument because it would not aid in the decisional process.

                                        L Background


       Plaintiff John Doe("Doe")is a tenured, full professor at George Mason University

("GMU"). Compl.       3, 28, 502. He has worked there for more than fiffeen years, obtained

tenure in 2008 and became a full professor in 2014. Compl.^ 28. He teaches courses involving

human sexuality, abnormal behavior, and cultural norms, and he conducts related research.

Compl.f 30. He is an accomplished author, has been published on many occasions, and has

received grants and awards during his career. Compl.^ 29.

       Doe teaches and works within a particular GMU department(the "Department"). Dr.

Keith Renshaw is another GMU professor. Doe's supervisor, and Chair ofthe Department.

Compl.    22, 169. The Department falls within a College led by Dean Ann Ardis. Compl.

   23, 178. Dr. S. David Wu is Provost of GMU. Compl.^ 24.
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 2 of 44 PageID# 1464
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 3 of 44 PageID# 1465
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 4 of 44 PageID# 1466
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 5 of 44 PageID# 1467
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 6 of 44 PageID# 1468
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 7 of 44 PageID# 1469
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 8 of 44 PageID# 1470
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 9 of 44 PageID# 1471
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 10 of 44 PageID# 1472
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 11 of 44 PageID# 1473
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 12 of 44 PageID# 1474
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 13 of 44 PageID# 1475
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 14 of 44 PageID# 1476
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 15 of 44 PageID# 1477
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 16 of 44 PageID# 1478
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 17 of 44 PageID# 1479
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 18 of 44 PageID# 1480
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 19 of 44 PageID# 1481
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 20 of 44 PageID# 1482
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 21 of 44 PageID# 1483
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 22 of 44 PageID# 1484
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 23 of 44 PageID# 1485
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 24 of 44 PageID# 1486
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 25 of 44 PageID# 1487
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 26 of 44 PageID# 1488
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 27 of 44 PageID# 1489
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 28 of 44 PageID# 1490
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 29 of 44 PageID# 1491
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 30 of 44 PageID# 1492
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 31 of 44 PageID# 1493
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 32 of 44 PageID# 1494
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 33 of 44 PageID# 1495
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 34 of 44 PageID# 1496
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 35 of 44 PageID# 1497
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 36 of 44 PageID# 1498
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 37 of 44 PageID# 1499
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 38 of 44 PageID# 1500
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 39 of 44 PageID# 1501
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 40 of 44 PageID# 1502
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 41 of 44 PageID# 1503
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 42 of 44 PageID# 1504
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 43 of 44 PageID# 1505
Case 1:19-cv-01249-LO-MSN Document 49 Filed 04/23/20 Page 44 of 44 PageID# 1506
